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                                   8                                      UNITED STATES DISTRICT COURT
                                   9                                   NORTHERN DISTRICT OF CALIFORNIA
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                                        LAMAR H. CAUSEY, SR.,                                           Case No. 20-02703 BLF (PR)
                                  11
                                                           Plaintiff,                                   JUDGMENT
                                  12
Northern District of California




                                                   v.
 United States District Court




                                  13

                                  14    ALAMEDA COUNTY SANTA RITA
                                  15    JAIL,
                                                          Defendant.
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                                  18            The Court has dismissed the instant civil rights action without prejudice for
                                  19   Plaintiff’s failure to file an amended complaint. A judgment of dismissal without
                                  20   prejudice is entered.
                                  21            The Clerk shall close the file.
                                  22            IT IS SO ORDERED.
                                  23   Dated: _October 20, 2020_____                                      ________________________
                                  24                                                                      BETH LABSON FREEMAN
                                                                                                          United States District Judge
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                                  28
                                       Judgement
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